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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

   ASTRAZENECA AB and
   ASTRAZENECA PHARMACEUTICALS LP,

                    Plaintiffs,

   v.                                           CIVIL ACTION NO. 1:18CV193
                                                      (Judge Keeley)

   MYLAN PHARMACEUTICALS INC. and
   KINDEVA DRUG DELIVERY L.P.,

                    Defendants.
                                                c/w 1:19CV203

                     ORDER SCHEDULING STATUS CONFERENCE

        For good cause, the Court SCHEDULES a status conference for

   May 13, 2022 at 12:30 P.M. The parties are directed to connect to

   the conference via telephone as follows:

        Call in: 1 (646) 828-7666
        Meeting ID: 161 400 6083
        Participant Code: #
        Password: 5781

        It is so ORDERED.

        The Clerk SHALL transmit copies of this Order to counsel of

   record by electronic means.

   Dated: May 12, 2022

                                           /s/ Irene M. Keeley_________
                                           IRENE M. KEELEY
                                           UNITED STATES DISTRICT JUDGE
